                                     Case 21-19977-SMG               Doc 2       Filed 10/18/21            Page 1 of 2

      Fill in this information to identify the case:

                    True Enterprise, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     North American Transaction Services                                  Suppliers or Vendors
1    PO Box 7247-6171
     Philadelphia, PA, 19170
                                                                                                                                                       44,381.32


     SCS Engineers                                                        Suppliers or Vendors
2    3900 Kilroy Airport Way
     Suite 100
                                                                                                                                                       14,407.50
     Long Beach, CA, 90806-6816

     Earth Tech Drilling                                                  Suppliers or Vendors
3    19263 Redberry Court
     Boca Raton, FL, 33498
                                                                                                                                                       4,650.00


     Kalis Kleinman & Wolfe                                               Debt Counseling /
4    7320 Griffin Rd                                                      Attorneys
     Suite 109                                                                                                                                         4,380.00
     Fort Lauderdale, FL, 33314


     Daleth, Inc.
5    c/o Weires, Murdock, PLLC
     14 S.E. 4TH ST                                                                                                                                    0.00
     Boca Raton, FL, 33432

     Internal Revenue Service                                             Taxes & Other
6    POB 7346                                                             Government Units
     Philadelphia, PA, 19101                                                                                                                           0.00



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                  True Enterprise, LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
